     Case 1:21-cr-00143-ELR-CCB Document 39 Filed 10/11/21 Page 1 of 10




                   'UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 UNITED STATES                                 )
                                               )
                                               )
                   v.                          )     No. 1:21-CR-143-ELR-CCB
                                               )
                                               )
 VICTOR HILL,                                  )
                                               )
            Defendant.                         )


                SHERIFF VICTOR HILL’S REPLY TO THE
            GOVERNMENT’S CONSOLIDATED RESPONSE TO
             SHERIFF HILL’S VARIOUS PRETRIAL MOTIONS

      Sheriff Victor Hill, by and through his undersigned attorneys, files this

Reply to the Government’s Consolidated Response to Sheriff Hill’s Various

Pretrial Motions (Doc. 35). Sheriff Hill renews his request for oral argument on his

Motion to Dismiss (Doc. 20).

      A. This Court should dismiss the indictment because the Government has
         not and cannot establish that Sheriff Hill had fair warning that his use
         of a restraint chair in the alleged circumstances ran afoul of the
         Constitution.

      The Government concedes that there is no case materially similar to the facts

alleged here, even in the civil context, that could have put Sheriff Hill on notice

that the use of a restraint chair in the alleged manner violated the Fourteenth

Amendment. Instead, the Government argues that he could nonetheless be on fair

warning in the absence of material similarity where the constitutional rule in
     Case 1:21-cr-00143-ELR-CCB Document 39 Filed 10/11/21 Page 2 of 10




established by prior cases applies with “‘obvious clarity to the specific conduct in

question.’”1 (Doc. 35 at 12 (citing United States v. Lanier, 520 U.S. 259, 271 (1997)).)

To prove “obvious clarity,” the Government principally relies on the infamous

hitching post from Hope v. Pelzer, 536 U.S. 730 (2002), and the tasing in Piazza v.

Jefferson Cty., Ala., 923 F.3d 947 (11th Cir. 2019), to show that restraint is excessive

when the original justification for the restraint, to the extent there was one, no

longer exists.

      Sheriff    Hill acknowledged      the well-established principle that the

Constitution prohibits punishment of pretrial detainees in his Motion to Dismiss.

See, e.g., Crocker v. Beatty, 995 F.3d 1232, 1240, 1249 (11th Cir. 2021). Regardless of

whether Sheriff Hill had a punitive intent, his use of the restraint chair in the

alleged circumstances must be objectively unreasonable on the face of the

Indictment in order to survive a motion to dismiss. See id. Presumably, the

Government relies on the allegations that the inmates were not under the influence

of alcohol, were unarmed, and were offering no resistance in order to show that



1 The Government claims Sheriff Hill “ignores the Supreme Court’s explicit
direction that such a direct holding [regarding material similarity] is not
required.” (Doc. 35 at 19.) On the contrary, Sheriff Hill’s Motion to Dismiss
acknowledged that a defendant can be on fair warning in the absence of a
materially similar case if the constitutional rule applies “‘with obvious clarity to
the circumstances.’” (Doc. 20 at 12 (citing Crocker v. Beatty, 995 F.3d 1232, 1240
(11th Cir. 2021) (emphasis in original).) But Sheriff Hill also noted that this
alternate path is “rarely trod.” (Id.)

                                           2
     Case 1:21-cr-00143-ELR-CCB Document 39 Filed 10/11/21 Page 3 of 10




the use of the chair was not “‘rationally related to a legitimate nonpunitive

government purpose’” or were otherwise “‘excessive in relation to that purpose.’”

(Doc. 35 at 14 (quoting Kingsley v. Hendrickson, 576 U.S. 389, 397 (2005)).)

      Subduing a noncompliant pretrial detainee is certainly an objectively

reasonable purpose for using force, see Piazza, 923 F.3d at 952, which is presumably

why the Indictment offers contrast by repeatedly alleging that the detainees in

question were not resisting. But even in the absence of resistance, force can be

justified to “otherwise achieve a permissible governmental objective.” Id. Such

permissible objectives can include the “need to ‘preserve internal order and

discipline,’” often making “‘split-second judgements’ about the need for such

force ‘in circumstances that are tense, uncertain, and rapidly evolving.’” Id. at 953

(quoting Kingsley, 135 S. Ct. at 2473-74)). For that reason, courts will not second-

guess the officer’s decision to apply force “in a glib, post-hoc fashion or ‘with the

20/20 vision of hindsight.’” Id. (quoting Kingsley, 135 S. Ct. at 2473). Rather, courts

should strive to “consider the situation through the lens of a ‘reasonable officer on

the scene.’” Id. There mere fact of nonresistance therefore does not, on its own,

necessarily render force objectively unreasonable.

      Regarding the type of force that can be used, the Government is correct that

there would be little merit in trying to distinguish a standard excessive force case

on the grounds that prior caselaw involves Weapon X, and this case involves



                                          3
     Case 1:21-cr-00143-ELR-CCB Document 39 Filed 10/11/21 Page 4 of 10




Weapon Y. (See Doc. 35 at 16 (quoting Piazza, 923 F.3d at 956). There is no

“meaningful distinction” between pepper spray, beatings, tasers, etc. See Piazza,

923 F.3d at 956. But this is not a standard excessive force case because we are not

dealing a difference of weapons or physical force; here, we are dealing with

passive restraint in a chair. As stated in Sheriff Hill’s Motion to Dismiss, there is

no case establishing that a restraint chair even constitutes the use of force; indeed,

officers in a jail use a variety of means to restrain inmates that fall below the

threshold of what we typically consider the “use of force” in a law enforcement

context—and that is a “meaningful distinction” between this case and others

involving force. See id.

      The facts alleged by the Government are therefore most close to those in

Crocker v. Beatty, which should be the instructive case for resolving Sheriff Hill’s

motion (and which case, understandably, the Government chose largely to

ignore). While summarized more fully in Sheriff Hill’s Motion to Dismiss, it is

worth emphasizing the similarities between Crocker and this case. In both cases,

the alleged victims were cooperative. See Crocker, 995 F.3d at 1238. In both cases,

the alleged victims mouthed off and were subsequently restrained in

uncomfortable circumstances. See id. (the plaintiff was handcuffed and put in a hot

patrol car where he “sweated profusely, experienced some trouble breathing, and

felt anxious”). The Eleventh Circuit could have compared those facts to the



                                          4
     Case 1:21-cr-00143-ELR-CCB Document 39 Filed 10/11/21 Page 5 of 10




uncomfortable hitching on a hot summer day in Hope, as the Government asks this

Court to do, but instead found there was no caselaw clearly establishing that the

officer’s conduct violated the Constitution and asked whether the conduct was

objectively unreasonable based on the factors articulated in Kingsley, including the

proportionality of the force balanced against its need, the extent of the injury

inflicted, the severity of the security threat posed by the victim (if any), and

whether the victim was actively resisting. Id. at 1250. Where there is very little

force used and very little harm done, such “de minimis level of imposition” does

not offend the Constitution. Id. at 1251.

      Query why the Government chose to pursue this particular law enforcement

officer, whose conduct pales by comparison in the universe of police misconduct,

but this Court can remedy such overreach. In Crocker, against the lower civil

standard, the Eleventh Circuit affirmed the district court’s decision to keep such a

marginal case from ever reaching a jury. Under the significantly more exacting

standard of a criminal prosecution with up to ten years in prison on the line, this

Court should follow suit because no fact that could possibly come out at trial on

these allegations can cure the fundamental infirmity of this prosecution—it

charges acts that are not clearly criminal.




                                            5
     Case 1:21-cr-00143-ELR-CCB Document 39 Filed 10/11/21 Page 6 of 10




      B. If this Court allows the prosecution to proceed, it should strike
         language from the Indictment that reflects the bad acts of others for
         which Sheriff Hill is not responsible.

      Sheriff Hill is charged as a principle for ordering that detainees be placed in

a restraint chair, not with aiding and abetting others or conspiracy to engage in

excessive force by way of beating after the detainees were restraine d. The

Government alleges that W.T. was strapped in the restraint chair on Sheriff Hill’s

orders, and that he was later struck in Sheriff Hill’s presence. 2 (Doc. 24 ¶¶ 45-47.)

The Government does not allege, nor could it, that Sheriff Hill was the one who

struck W.T. or that he ordered the strike.

      Assuming as true that W.T. was struck while restrained, there is no

allegation from which this Court could conclude that Sheriff Hill could reasonably

foresee the beating by another officer. See Jackson v. Sauls, 206 F.3d 1156, 1168 (11th

Cir. 2000) (officers are responsible “for the natural and foreseeable consequences”

of their own actions); see also Carruth v. Bentley, 942 F.3d 1047, 1056 (11th Cir.

2019) (“The requisite causal relation for a § 1983 claim does not exist when the

continuum between Defendant's action and the ultimate harm is occupied by the

conduct of deliberative and autonomous decision-makers.”). Nor are there alleged

facts from which this Court could conclude that Sheriff Hill is vicariously liable


2Although inappropriate for consideration at this stage, the statements by W.T.
are wildly inconsistent regarding whether Sheriff Hill was present or even
whether there was a hood over W.T.’s head.

                                          6
     Case 1:21-cr-00143-ELR-CCB Document 39 Filed 10/11/21 Page 7 of 10




for the unconstitutional acts of whomever struck W.T. See Chatham v. Adcock, 334

F. App’x 281, 285-86 (11th Cir. 2009) (supervisors are only liable if they personally

participate in the wrongful conduct, or if there is a causal connection between their

conduct and the constitutional injury). There are no allegations that Sheriff Hill

personally participated in or ordered the beating, only that it occurred in his

presence.

      In the absence of participation, the Eleventh Circuit has identified three

ways in which there can nonetheless be a “causal connection” between a

supervisor’s actions and the injury: (1) If the supervisor was on notice through a

history of abuse and the need to correct the wrongful behavior but failed to do so;

(2) if the supervisor’s custom or policy resulted in deliberate indifference; or (3) if

the supervisor either directed that the wrongful action occur or failed to stop it. Id.

There is nothing in the Indictment or discovery supports such conclusion, and thus

the alleged beating of W.T. serves only to prejudice Sheriff Hill and inflame the

jury. Sheriff Hill stands by his motion to strike.

      C. This Court should require the Government to particularize the
         Indictment to articulate the harm it intends to prove at trial so Sheriff
         Hill can determine whether he needs to hire an expert.

      Sheriff Hill will not recite the arguments made in his Amended Motion for

a Bill of Particulars (Doc. 32), but the Government has not obviated his concern

about whether he needs to hire a medical expert in order to prepare for trial. The



                                          7
     Case 1:21-cr-00143-ELR-CCB Document 39 Filed 10/11/21 Page 8 of 10




Government responds only that it provided FBI memoranda of interviews “that

memorialize statements by each of the victims who have clearly stated that Hill’s

actions caused them physical pain and, in some instances, greater injury.” (Doc.

35 at 24.) There is a difference in causing physical pain and physically injuring

someone, and Sheriff Hill needs to know for which victims the Government

intends to prove physical injury and what that physical injury is.

      The FBI 302’s offer little clarification. For example, the 302 for victim J.A.

(Count One) says only that the restraint chair “physically injured” him and caused

him “physical pain.” But there is no further elucidation of what that injury was

such that Sheriff Hill can refute it at trial, perhaps with expert medical testimony.

The 302 for victim J.H. (Count Three) explains that the victim believed he suffered

a sprained wrist from the chair. Sprains require a medical diagnosis, but there is

no other evidence that J.H. suffered a sprain. This Court should require the

Government to articulate whether its felony theory hinges on this alleged sprain

or some other injury, or whether it will argue only physical pain. The 302 for victim

G.H. (Count Four) discusses shoulder pain he allegedly suffered, and the victim

claims that he still has pain that radiates into his arm and hand. Does the

Government intend to prove only that he was in pain or that he suffered some

injury that caused lasting damage? If the Government intends to rely solely on




                                          8
     Case 1:21-cr-00143-ELR-CCB Document 39 Filed 10/11/21 Page 9 of 10




proof of physical pain, then this Court should require it to commit to that theory

now or otherwise further explain what the “physical injury” is.

      For the reasons stated in Sheriff Hill’s original pleadings and based on the

above replies to the Government’s response to those motions, this Court should

grant Sheriff Hill’s requested relief.



This 11th day of October, 2021.          Respectfully submitted,


                                         By:/s/    Lynsey M. Barron
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                                         9
    Case 1:21-cr-00143-ELR-CCB Document 39 Filed 10/11/21 Page 10 of 10




                         CERTIFICATE OF SERVICE

      I hereby certify that on the below date I electronically filed the foregoing
Motion to Dismiss the Indictment with the Clerk of Court using CM/ECF system
which will automatically send email notification of such filing to the to the
following attorneys of record:

                  Brent Gray, AUSA
                  Brett Hobson, AUSA
                  U.S. Attorney’s Office
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                  75 Ted Turner Drive SW
                  Atlanta, GA 30303


      This 11th day of October, 2021

                                        /s/ Lynsey M. Barron
                                        By: Lynsey M. Barron
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                                        Attorney for Sheriff Victor Hill
